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  A0 245B (Rev. 06/05) Judgment in a Criminal Case
             Sheet I



                                       UNITED STATES DISTRICT COURT
                       MIDDLE                                     District of                                ALABAMA
        UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                       V.
                DELLA MAY JONES
                                                                          Case Number:                      2:07CR289-MEF-03

                                                                          USM Number:                       12382-002

                                                                          Paul R. Cooper
                                                                          Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)       5 of the Indictment on 2/21/2008
0 pleaded nob contendere to count(s) __________________________________________________________________________________
   which was accepted by the court.
0 was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                 Nature of Offense                                                           Offense Ended               Count

18:641 and 2                    Theft of Government Property/Aiding & Abetting                              10/14/2005                     5




       The defendant is sentenced as provided in pages 2 through                  5        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0 The defendant has been found not guilty on count(s)           _____________________________________________________________
X Count(s) 1 and 10 of the Indictment                    0 is X are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           Au2ust 25, 2008
                                                                           Date of Imposition Jdgmenr7—.._.....




                                                                                      of Judge




                                                                           MARK E. FULLER, CHIEF U.S. DISTRICT JUDGE
                                                                           Name and Title of Judge


                                                                           Date
                                                                                  2-7   4i'        Lca
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AO 245B      (Rev. 06/05) Judgment in a Criminal Case
             Sheet 4—Probation
                                                                                                           Judgment—Page       2     of        5
DEFENDANT:   DELLA MAY JONES
CASE NUMBER: 2:07CR289-MEF-03
                                                                 PROBATION

The defendant is hereby sentenced to probation for a term of:

Three (3) years.




 The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
 thereafter, as determined by the court.
 o The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
 X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 0 The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
      student, as directed by the probation officer. (Check, if applicable.)
 o The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this judgment imposes a fme or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
 Payments sheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
   1)     the defendant shall not leave the judicial district without the pennission of the court or probation officer;
   2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted pennission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any
          contraband observed in plain view of the probation officer;
  11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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          Sheet 4C - Probation
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DEFENDANT:   DELLA MAY JONES
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                                        SPECIAL CONDITIONS OF SUPERVISION

The defendant shall participate in a program of drug testing administered by the United States Probation Office.
Defendant shall provide the probation officer any requested financial information.
Defendant shall not obtain new credit without approval of Probation unless in compliance with the payment schedule.
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AO 245B      (Rev. 06/05) Judgment in a Criminal Case
             Sheet 5 - Criminal Monetary Penalties
                                                                                                   Judgment - Page      4     of        5

DEFENI)ANT:                          DELLA MAY JONES
CASE NUMBER:                         2:07CR289-MEF-03
                                                 CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                         Assessment                                  Fine                                 Restitution
 TOTALS              $ 100.00                                       $0                                 $ 2,000.00


 El The determination of restitution is deferred until _______. An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

 El The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximatelyproportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                    Total Loss*                   Restitution Ordered                  Priority or Percenta2e


 FEMA                                                                                         2,000.00
 P.O. Box 70941
 Charlotte, NC 28272-0941




 TOTALS                                 $                       0           $                     2000


 El Restitution amount ordered pursuant to plea agreement $

 El The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 X The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       X the interest requirement is waived for the El fine X restitution.
          0 the interest requirement for the El fme 0 restitution is modified as follows:


  * Findings for the total amount of losses are required under Chapters 109A, 110, 1 bA, and 1 13A of Title 18 for offenses committed on or after
  September 13, 1994, but before Apnl 23, 1996.
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AO 245B    (Rev. 06/05) Judgment in a Criminal Case
           Sheet 6— Schedule of Payments
                                                                                                         Judgment - Page      5     of        5

DEFENDANT:    DELLA MAY JONES
CASE NUMBER: 2:07CR289-MEF-03

                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A X Lump sum payment of $ 2,100.00                          due immediately, balance due

           Onot later than _______________________ , or
           x inaccordance        o C, o D, 0 E,or x Fbelow;or
 B 0 Payment to begin immediately (may be combined with 0 C,                         0 D, or D F below); or

 C 0 Payment in equal ____________ (e.g., weekly, monthly, quarterly) installments of $ ____________ over a period of
        ____________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after the date of this judgment; or

 D fl Payment in equal ____________ (e.g., weekly, monthly, quarterly) installments of $ ____________ over a period of
         ___________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or
 E 0 Payment during the term of supervised release will commence within ___________ (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F X Special instructions regarding the payment of criminal monetary penalties:

            Criminal monetary payments shall be made payable to the Clerk, U.S. District Court, Middle District of Alabama, P.O.
            Box 711, Montgomery 1 AL 36101.
            Restitution shall be paid at the rate of not less than $25.00 per month. Restitution is to be paid jointly and severally with
            co-defendant, Rosetta Lola Camdate Dejarnette - Docket No. 2:07cr289-MEF-01.


 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 X Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.

       Rosetta Lola Camdate Dejarnette, 2:07cr289-MEF-01, $2,000.00 - Restitution



  0 The defendant shall pay the cost of prosecution.

  o The defendant shall pay the following court cost(s):

  LI The defendant shall forfeit the defendant's interest in the following property to the United States:




  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
  (5) fme interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
